                           UNITED STATES DISTRICT COURT
                      FOR THE MIDDLE DISTRICT OF TENNESSEE
                                 NASHVILLE DIVISION


UNITED STATES OF AMERICA )
                         )
           v.            )                      NO. 3:09-00047
                         )                      JUDGE NIXON
ADRIAN DEWAYNE PATTERSON )


            INFORMATION ALLEGING PRIOR FELONY DRUG CONVICTION
                              (21 U.S.C. § 851)

       The United States, through the United States Attorney for the Middle District of

Tennessee and the undersigned counsel, hereby alleges pursuant to 21 U.S.C. § 851(a)(1) that the

defendant, ADRIAN DEWAYNE PATTERSON , was previously convicted of the following

felony drug offenses in the Criminal/Circuit Court of Montgomery County, Tennessee.

Judgments relating to these convictions are attached and incorporated into this Information.

       1. Case 35077, Count 1, Possession of Cocaine with Intent to Resale, with an offense

date of August 16, 1994, and for which he was re-sentenced on or about July 20, 2001.

       2. Case 36525, Count 1, possession with intent to sell cocaine under .5 grams, with an

offense date of August 18, 1995, for which he was sentenced on or about March 27, 1998, and

re-sentenced on or about July 20, 2001.

       The United States alleges that each of these prior convictions is a "prior conviction for a

felony drug offense" which had become final before the defendant committed the acts charged in

the present indictment and that these convictions enhance the defendant's sentence upon

conviction of the sole count of the indictment in case 3:09-00047. With this enhancement, the




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defendant faces a statutory mandatory minimum sentence of life imprisonment, and a fine of up

to $8,000,000 on the charge in this Indictment.

       The United States moves that the defendant be ordered to affirm or deny the existence of

this conviction as required by 21 U.S.C. § 851(b).

                                             Respectfully submitted,

                                             JERRY E. MARTIN
                                             UNITED STATES ATTORNEY

                                             /s/ Sunny A.M. Koshy 7/6/11
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                                 CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a true and exact copy of the foregoing has been
served on Peter Strianse, counsel for defendant ADRIAN DEWAYNE PATTERSON , through
the Court’s Electronic Filing System, on July 6, 2011.


                                             /s/ Sunny A.M. Koshy
                                             SUNNY A.M. KOSHY




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